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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

TAMMY J. KITZMILLER; BRYAN REHM,
CHRISTY REHM; DEBORAH F.
FENIMORE; JOEL A. LIEB;

STEVEN STOUGH; BETH A EVELAND,
CYNTHIA SNEATH; JULIE SMITH;
ARALENE D. CALLAHAN ("BARRIE");
FREDERICK B. CALLAHAN,

CIVIL ACTION
Plaintiffs,

v. _ NO. 4:04-CV-2688

DOVER AREA SCHOOL DISTRICT;
DOVER AREA SCHOOL DISTRICT BOARD OF
DIRECTORS,

Defendants.

 

PLAINTIFFS’ DESIGNATIONS OF DEPOSITION TESTIMONY WITH
DEFENDANTS’ COUNTER-DESIGNATIONS AND
PLAINTIFFS’? OBJECTIONS TO COUNTER-DESIGNATIONS

Attached as Exhibits A — S are charts indicating Plaintiffs’ deposition
designations and Defendants’ counter-designations. Attached as Exhibit T is a list of Plaintiffs’
exhibits to be admitted, with the exhibits referenced in the designations and counter-
designations listed in blue. Also attached are Plaintiffs’ Deposition Designation Binders
Volumes | and 2. which contain the deposition transcripts with Plaintiffs’ designations and
Defendants’ counter-designations highlighted (yellow for Plaintiffs’ designations and pink for
Defendants’ counter-designations).

The charts indicate the counter-designations as to which Plaintiffs object on the

grounds that they are improper counter-designations under Rule 32 of the Federal Rules of Civil
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Procedure. Specifically, Rule 32(a)(4) provides that: “If only part of a deposition is offered in
evidence by a party, an adverse party may require the offeror to introduce any other part which
ought in fairness to be considered with the part introduced, and any party may introduce any
other parts.” See also Magual v. Prudential Lines, Inc., 53 F.R.D. 301, 303 (E.D. Pa. 1971)
(Rule 32(a)(4) “is clearly designed to allow explanatory material into the record”); and 8A
Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2148 (“the
opposing party is entitled under the rule to have the context of any statement, or any
qualifications made as part of the deponent’s testimony also put into evidence”). Plaintiffs
object to Defendants’ attempt to counter-designate testimony that does not explain or provide

context to Plaintiffs’ designations.

Respectfully submitte

 
   

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